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 1
                                 IN THE UNITED STATES DISTRICT COURT
 2                                     FOR THE DISTRICT NEVADA
 3   CUNG LE, NATHAN QUARRY, JON FITCH,
     BRANDON VERA, LUIS JAVIER                        Case No. 2:15-cv-01045-RFB-BNW
 4
     VAZQUEZ, and KYLE KINGSBURY, On
 5   Behalf of Themselves and All Others Similarly
     Situated,
 6
                   Plaintiffs,
 7

 8          v.

 9   ZUFFA, LLC, D/B/A ULTIMATE FIGHTING
     CHAMPIONSHIP and UFC,
10
                   Defendant.
11
     KAJAN JOHNSON and CLARENCE
12
     DOLLAWAY, On Behalf of Themselves and All       Case No. 2:21-cv-01189-RFB-BNW
13   Others Similarly Situated,

14                 Plaintiffs,
15          vs.
16
     Zuffa, LLC, TKO OPERATING COMPANY,
17   LLC F/K/A ZUFFA PARENT LLC (D/B/A
     ULTIMATE FIGHTING CHAMPIONSHIP and
18   UFC), and ENDEAVOR GROUP HOLDINGS,
     INC.,
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                   Defendants.
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24         PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE PRELIMINARY
25      APPROVAL BRIEF IN EXCESS OF PAGE LIMITS IMPOSED BY LOCAL RULE II 7-3

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                  PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE PRELIMINARY APPROVAL BRIEF
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 1          Pursuant to Local Rule II 7-3(c), Plaintiffs in the above captioned matters (the “Action(s)”)

 2   respectfully request additional pages in excess of the page limits imposed by Local Rule II 7-3 for their

 3   memorandum of law in support of preliminary approval of a proposed settlement of the Actions (the

 4   “Preliminary Approval Brief”). Plaintiffs request leave to file a Preliminary Approval Brief not to

 5   exceed thirty-five pages. This motion is based upon the Memorandum of Points and Authorities set

 6   forth below. Defendants do not oppose Plaintiffs’ request for additional pages.

 7                           MEMORANDUM OF POINTS AND AUTHORITIES

 8          The parties in the above captioned matters have agreed to a settlement that would resolve both

 9   Actions (the “Settlement”). As part of the Settlement, Plaintiffs will also seek provisional certification

10   of a settlement class for the Johnson Action (the “Johnson Settlement Class”). To support the motion

11   for preliminary approval of the Settlement, the Preliminary Approval Brief will: (i) provide background

12   information on the litigation leading to the Settlement and discuss the terms of the Settlement; (ii)

13   demonstrate the Settlement satisfies each of the requirements of Fed. R. Civ. P. 23(e) for preliminary

14   approval (which includes a detailed description of a proposed plan of allocation for the Settlement);

15   (iii) demonstrate the Johnson Settlement Class satisfies each of the requirements for provisional

16   certification pursuant to Fed. R. Civ. P. 23(a), (b)(3) and (g); (iv) describe in detail and request

17   approval of a proposed notice plan; (v) request approval for appointment of a claims administrator and

18   an escrow agent for the Settlement; and (vi) request approval for a proposed schedule to implement the

19   Settlement. The additional pages for the Preliminary Approval Brief (from twenty-four up to thirty-

20   five) are needed to address each of these subjects.

21          Local Rule II 7-3(b) provides that “[a]ll other motions, responses to motions, and pretrial and

22   post-trial briefs are limited to 24 pages, excluding exhibits.” The Court retains the authority to modify

23   or relax such rule. Veterinary Ventures, Inc. v. Farris, 2010 WL 3070423, at *2 (D. Nev. August 3,

24   2010) (citing Gennock v. Warner-Lambert Co., 208 F. Supp. 2d 1156, 1158 (D. Nev. 2002)). Local

25   Rule II 7-3(c) empowers the Court to permit a party to file a motion or brief in excess of the page

26   limitations set forth in LR. II 7-3(b). “[G]iven the district court’s inherent power to control their

27   dockets, whether to grant leave to exceed the page limits set forth in the Civil Local Rules appears to be

28   at the full discretion of the Court.” FTC v. AMG Servs., Inc., 2016 WL 1275612, at *2, n.2 (D. Nev.

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 1   Mar 31, 2016) (quoting Traylor Bros. v. San Diego Unified Port Dist., 2012 WL 1019966, at *2 (S.D.

 2   Cal. Mar. 26, 2012)).

 3          District Courts in Nevada will permit a party to file a motion or brief in excess of the page

 4   limits imposed by the Local Rules where the party has properly filed a motion for leave of court and

 5   good cause exists for the extension. See Robins v. Baker, 2013 WL 5947343, at *6 (D. Nev. Nov. 5,

 6   2013); see, e.g., Homick v. Baker, 2013 WL 5408643, at *1 (D. Nev. Sept. 25, 2013); Vanisi v. Baker,

 7   2012 WL 1431373, at *1 (D. Nev. Apr. 25, 2012); Grimsley v. Charles River Labs., 2011 WL

 8   4527415, at *1 (D. Nev. Sept. 28, 2011). Good cause for exceeding the page limits may exist where the

 9   record is voluminous, the relevant issues are “substantial” and “susceptible of lengthy expositions.”

10   Jacobs v. Clark Cnty. School Dist., 373 F. Supp. 2d 1162, 1168 (D. Nev. 2005) (granting motion to

11   exceed page limit where the relevant issues were “substantial” and “susceptible of lengthy exposition”).

12          Good cause exists for the extra pages because the issues relevant to preliminary approval of the

13   Settlement, including provisional certification of the Johnson Settlement Class, are substantial and

14   susceptible of lengthy exposition. Federal Rule of Civil Procedure 23(e) sets forth seven factors

15   (including sub-factors) for the Court’s consideration on preliminary approval of a class action

16   settlement, along with additional factors the Court may consider as set forth in Hanlon v. Chrysler

17   Corp., 150 F.3d 1011 (9th Cir. 1998). Provisional certification of the Johnson Settlement Class will

18   address the four factors of Fed. R. Civ. P. 23(a) and the two factors under Fed. R. Civ. P. 23(b)(3), as

19   well as covering the Fed. R. Civ. P. 23(g) requirements. Addressing these subjects, along with the

20   others listed above, is not practicable under the standard page limit of L.R. II 7-3(b).

21          Accordingly, Plaintiffs respectfully request leave to exceed the page limits imposed by L.R. II

22   7-3(b) to file a Preliminary Approval Brief of up to thirty-five pages to ensure that all material issues

23   for preliminary approval of the Settlement can be adequately addressed. Again, as noted above,

24   Defendants do not oppose this request.

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 1   Dated: May 17, 2024                          Respectfully submitted,

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